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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                          TERRE HAUTE DIVISION

 LISA MARIE MONTGOMERY,                    )
                                           )
                         Petitioner,       )
                                           )
                    v.                     )    No. 2:21-cv-00020-JPH-DLP
                                           )
 WARDEN OF USP TERRE HAUTE, IN, et         )
 al.                                       )
                                           )
                         Respondents.      )

     ORDER STAYING THE EXECUTION OF LISA MARIE MONTGOMERY

       Counsel have demonstrated that a stay of Lisa Marie Montgomery's

 execution is warranted. It is therefore ordered that respondents Warden of the

 USP Terre Haute, IN, Michael Carvajal, and Jeffrey Rosen are enjoined from

 executing Lisa Marie Montgomery until further order of this Court.

 SO ORDERED.

 Date: 1/12/2021
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 Distribution:

 Brian Patrick Casey
 U.S. ATTORNEY'S OFFICE
 brian.casey@usdoj.gov

 Amy D. Harwell
 FEDERAL PUBLIC DEFENDER TNM
 amy_harwell@fd.org

 Kelley J. Henry
 FEDERAL PUBLIC DEFENDER TNM
 kelley_henry@fd.org

 Lisa Nouri
 lisanouri_atty@hotmail.com
